               Case 4:95-cr-00123-WTM-CLR Document 1290 Filed 11/27/17 Page 1 of 1

 prob 3s                  Report and Order Terminating Probation/Supervised Release
(Rev. 6/17)                              Prior to Original Expiration Date



                                         United States District Court
                                                  FOR THE
                                     SOUTHERN DISTRICT OF GEORGIA -
                                         SAVANNAH DIVISION




              UNITED STATES OF AMERICA                     ^

                             V.                             V    Crim.No. 4;95CR00123-7

                 Kenneth Ramon Sanders



         On November 21,2014,the above named was placed on supervised release for a period offive years.
He has complied with the rules and regulations ofsupervised release and is no longer in need ofsupervision. It
is accordingly recommended that Kenneth Ramon Sanders be discharged from supervision.

                                                                Respectfully submitted.



                                                                Ervin Frpzier
                                                                U.S. Probation Officer



                                            ORDER OF THE COURT

         Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

         Dated this _                _ day of November,2017.



                                                            William T. Moore,Jr.
                                                            Judge, U.S. District Court
